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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,

                                                                    SCHEDULING ORDER

                                                                    05-CR-6161L

                       v.

JOHN NICOLO,
CONSTANCE ROEDER,
DAVID FINNMAN,

                              Defendants.
________________________________________________

       The Court conducted a status conference with Government counsel and all defense counsel

on October 16, 2008. It was agreed that the Court’s Order of October 6, 2008 (Dkt. # 366) would

be modified and that objections to the presentence reports must be filed on or before November 17,

2008, and the time within which to reply to objections moved to December 1, 2008. It is, of course,

expected that the parties will attempt to resolve disputes with Probation Officer Kevin Lyons prior

to filing formal objections.

       The Court will entertain another telephone conference on November 12, 2008 at 4 p.m. to

discuss procedure and other sentencing issues according to the same procedure and format as has

been the practice to date.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge

Dated: Rochester, New York
       October 17, 2008.
